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                 8
                                           UNITED STATES BANKRUPTCY COURT
                 9
                                             EASTERN DISTRICT OF CALIFORNIA
             10
                                                        FRESNO DIVISION
             11
                      In re:                                       )       Case No. 18-11651
             12                                                    )       Chapter 11
                      GREGORY JOHN te VELDE,                       )
             13                                                    )       D.C. No. UST-002
                                                                   )
             14                                                    )       Date: August 22 2018
                                                                   )       Time: 1:30 p.m.
             15                                      Debtor.       )       Place: 2500 Tulare Street
                                                                   )       Fresno, California
             16                                                    )       Judge: Fredrick E. Clement
             17             DECLARATION OF KRISTIN A. MCABEE IN SUPPORT OF UNITED STATES
                           TRUSTEE'S MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
             18           PURSUANT TO 11 U.S.C. § 1104(a), OR IN THE ALTERNATIVE, TO DIMISS CASE
                                              PURSUANT TO 11 U.S.C. §1112(b)
             19
                     I, Kristin A. McAbee, declare as follows:
             20
                               1. My name is Kristin A. McAbee, and I am a resident of Fresno County,
             21
                     California. I am over eighteen (18) years of age, of sound mind, and fully competent to
             22
                     make this declaration. I have personal knowledge of the facts contained in this
             23
                     declaration, and they are all true and correct.
             24
                               2. I am a Bankruptcy Analyst employed by the United States Department of
             25
                     Justice, Office of the United States Trustee in Fresno, California, and I have been so
             26
                     employed since September 19, 2004. I received a Bachelor of Science degree in Business
             27
                     Administration from Fresno State University in 1993, and was licensed as a Certified
             28
                     Public Accountant in the State of California on September 3, 2002.


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                 1           3. Prior to September 19, 2004, I was engaged in private practice as a Certified
                 2   Public Accountant with the firm of Stoughton Davidson Accountancy Corporation in
                 3   Fresno, California, providing auditing, accounting, management consultation and tax
                 4   services for individuals, C-corporations, S-corporations, general partnerships, estates,
                 5   governmental entities and special districts. I performed services for clients engaged in
                 6   manufacturing, farming, retail sales and personal services. Accounting services that I
                 7   performed included reviewing and formulating financial projections and forecasts for
                 8   business entities.
                 9           4. The U.S. Trustee is an official of the United States Department of Justice,
             10      charged by statute with the duty to oversee and supervise the administration of
             11      bankruptcy cases and take action to ensure that all reports, schedules, and fees required
             12      under Title 11 are properly and timely filed pursuant to 28 U.S.C. § 586. As part of my
             13      duties as a Bankruptcy Analyst, I am responsible for the supervision of chapter 11 cases
             14      in Bakersfield and Fresno, California. This supervision includes: monitoring chapter 11
             15      cases; reviewing petitions, schedules, statements and related documents, and pleadings
             16      filed by a chapter 11 debtor and other parties in interest; soliciting unsecured creditors for
             17      member to an Official Committee of Unsecured Creditors appointed by the United States
             18      Trustee; conducting the Initial Debtor Interview and requesting documents related to the
             19      Interview; reviewing Monthly Operating Reports; monitoring plans and disclosure
             20      statements; and other such other actions as the United States Trustee deems appropriate.
             21              5. This declaration is based upon facts of which I have personal knowledge, as
             22      well as judicially-noticeable facts, such as filing dates, apparent from the court's records
             23      in this proceeding. This declaration is made in my official capacity as a representative of
             24      the U.S. Trustee, without waiving the attorney client privilege or the work product
             25      privilege.
             26      /////
             27      ////
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                 1   A. The Initial Debtor Interview of May 29, 2018.
                 2          6. On May 29, 2018, I conducted an Initial Debtor Interview (“IDI”) of Debtor,
                 3   Gregory John te Velde. Debtor’s Counsel, Riley Walter, Counsel’s assistant Nicole
                 4   Medina, and Debtor’s bookkeeper Robin Ferrara were present. Terri Didion and Robin
                 5   Tubesing for the Office of the United States Trustee also attended the IDI. In preparation
                 6   for the IDI, I requested that Debtor, through his Counsel’s office, provide me with
                 7   various documents.
                 8          7. During the IDI, Debtor represented that he has been in the dairy business for
                 9   37 years. He currently operates three dairies as dbas, GJ te Velde Dairy in Tipton, CA,
             10      Pacific Rim Dairy in Corcoran, CA and Lost Valley Farm in Boardman, OR. Each dairy
             11      has a Herdsman/manager. Debtor’s son, Carson te Velde is the general manager of the
             12      California dairies and the general manager of the Oregon Dairy, Travis, Love, resigned
             13      post-petition. He has not been replaced as of the IDI, and Debtor is unsure if he is now
             14      the general manager of the Oregon Dairy. The dairies as a whole, also have a part-time
             15      controller and a bookkeeper.
             16             8. Debtor claims to spend half his time at the California dairies and half his time
             17      at the Oregon dairy. He relies on his General Managers to run the daily operations of the
             18      dairies. Debtor was unable to articulate what his duties are in regards to the dairies.
             19             9. Debtor employs approximately 230 persons for all 3 dairies.
             20             10. Because the dairies are the sole proprietorships of Debtor, he pays his
             21      personal expenses through the GJ te Velde Dairy checking account or withdraws cash.
             22      When I inquired of Debtor the amount of money he spends for his own personal use and
             23      that of his household, he was unsure how much money he spends.
             24             11. Debtor stated at the IDI that the reason he filed for chapter 11 was mostly due
             25      to low milk prices. Debtor was also using profits from the California dairies to pay for
             26      the construction of the Oregon Dairy. The Oregon property was purchased in 2015 as
             27      raw land with an abundance of trees. The land had to be cleared of the trees and the dairy
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                 1   was built from the ground up. Construction of the Oregon dairy commenced in
                 2   December 2015, and it began operating in April 2017.
                 3          12. In February 2018, Debtor was sued by the State of Oregon for mismanaging
                 4   manure and wastewater, allowing liquid manure and wastewater to overflow the storage
                 5   lagoons. Debtor and the State of Oregon reached a settlement agreement in March 2018
                 6   that would allow the Oregon dairy to operate in a limited capacity until the wastewater
                 7   treatment system is fully functional. As of the date of the IDI, the Debtor admitted he
                 8   was still not in compliance with the settlement agreement.
                 9          13. Debtor admitted at the IDI that he has a drug addiction to methamphetamine,
             10      which began when he was in college (Debtor is approximately 60 years old now). He has
             11      been in treatment programs 3 times, in 2004, 2015 and in March 2018. He completed the
             12      first two programs, but left the program he entered in March 2018 after a couple of weeks
             13      to attend to the dairies. Debtor believes he will return to the same treatment program in
             14      approximately 6 months when the business operations of the dairies are stabilized. His
             15      reason given at the IDI for potentially re-entering this program is to get away and relax,
             16      and that he likes the guy who runs the program because he plays golf.
             17             14. Debtor admitted that he has used methamphetamine since filing for
             18      bankruptcy and that he was high 2 days prior to the IDI. He stated at the IDI that he uses
             19      methamphetamine weekly.
             20             15. Because Debtor did not produce all of the documents I requested prior to the
             21      IDI, I continued the IDI to June 19, 2018.
             22      B. The Continued Initial Debtor Interview of June 19, 2018.
             23             16. On June 19, 2018, I conducted the Continued Initial Debtor Interview
             24      (“CIDI”) of Debtor, Gregory John te Velde. Debtor’s Counsel, Riley Walter was present.
             25      Terri Didion and Robin Tubesing for the Office of the United States Trustee also attended
             26      the CIDI. In preparation for the CIDI, I requested that Debtor, through his Counsel’s
             27      office, provide me with additional documents.
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                 1          17. Prior to the CIDI, Debtor filed his Monthly Operating Report (“MOR”) on
                 2   June 14, 2018, covering the period of April 26, 2018 through May 31, 2018. In
                 3   preparation for the CIDI, I reviewed the MOR and the related attachments.
                 4          18. I asked Debtor about cash withdrawals totaling $25,000 from the GJ te Velde
                 5   Ranch bank account for the period January 26, 2018 through March 15, 2018. Debtor
                 6   indicated that he uses cash to pay for personal expenses and for gambling. Debtor
                 7   verified that of the $25,000 withdrawn, $17,300 was used for gambling most likely at
                 8   Tachi Palace Hotel and Casino.
                 9          19. Debtor also indicated that he has continued to gamble post-petition
             10      approximately 1-2 times per week spending $2,000-$7,000 per month. Any winnings
             11      from gambling are reduced to cash and kept by the Debtor. Debtor was unsure how
             12      much he has won since the bankruptcy was filed, and no winnings are listed in the MOR.
             13             20. Regarding cash, Debtor stated that he has $7,000-$8,000 at his home in a
             14      safe. The cash is not reported on the MOR.
             15             21. Prior to the CIDI, I reviewed the various bankruptcy court orders authorizing
             16      the use of cash collateral. Debtor was permitted to receive an owner’s draw of
             17      $2,500/week. From the period May 8, 2018 through June 2, 2018, I calculated that
             18      Debtor was allowed to use a total of $10,000 of cash collateral has an owners draw.
             19             22. The MOR indicates that Debtor received deposits of $25,853.04 into his
             20      personal debtor-in-possession bank account. [Schedule A Recap of Cash Accounts].
             21      Schedule B of the MOR reflects that Debtor received an owner’s draw of $7988.65 from
             22      the dairy accounts. [Schedule B Statement of Cash Receipts and Disbursements]. After a
             23      review of the detail provided in the bank statements attached to the MOR, Debtor
             24      actually received a total of $38,420.55 in the form of cash withdrawals; checks written
             25      for payment of personal expenditures; and a payment on Debtor’s personal credit card.
             26             23. I asked Debtor at the CIDI to explain why he received $28,420.55 more in
             27      owner’s draws from cash collateral than what he was authorized by the Court to receive.
             28      Debtor could not provide an explanation other than he had never had a personal bank




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                 1   account; that prior to filing chapter 11 he withdrew whatever cash he needed and had his
                 2   bookkeeper pay his expenses from the dairy accounts.
                 3          24. Debtor was also asked by me at the CIDI about $20,500 in cash withdrawals
                 4   that he had taken post-petition from the dairy and his personal debtor in possession
                 5   accounts according to the bank statements attached to the MOR. Debtor stated that he
                 6   was unsure of what he did with the cash, but believes that he used it for gambling at
                 7   Tachi Palace Hotel and Casino.
                 8          25. Debtor provided account statement for Citizens Bank that he used as his
                 9   personal account prior to the bankruptcy filing. The account was opened on March 27,
             10      2018, with an opening deposit of $462,013.74. Other deposits were made as follows:
             11      $51,292.21 on April 2, 2018; $9,197.84 on April 18, 2018; $42,250.70 on April 20, 2018;
             12      and a wire transfer of $100,000 on April 25, 2018. [See Exhibit A]. I asked Debtor what
             13      the source was for each of these deposits, and he did not know.
             14      C. Other Financial Transactions.
             15             26. Debtor provided an account statement from Morgan Stanley for the period
             16      May 1, 2018 through May 31, 2018. [See Exhibit C]. On May 2, 2018, Debtor withdrew
             17      $12,400 from the account and deposited the funds in his Citizens Bank Account. The
             18      Morgan Stanley account is not disclosed on Debtor’s Schedule A/B.
             19             27. On April 25, 2018, Debtor received a wire transfer of $100,000 into his pre-
             20      petition Citizen’s Bank Account. The balance in this account on April 25, 2018, was
             21      $164,079.41. Debtor’s Schedule A/B reflects on April 26, 2018-the day Debtor filed
             22      chapter 11- that the Citizen’s Bank account was overdrawn by <$24,898.65>.
             23      ////
             24      ////
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                 1          28. On May 30, 2018, I requested by email communication through Debtor’s
                 2   Counsel’s office for Debtor’s personal credit card statements for the prior 12 month
                 3   period. I received some, but not all of the statements. Based on my review of the
                 4   statements received, Debtor incurred $171,676.40 in charges between March 7, 2017 and
                 5   March 1, 2018. Of that amount, $77,069.19 was spent on gambling.
                 6          I declare under penalty of perjury that the foregoing is true and correct.
                 7   Dated: July 13, 2018, in Fresno, California.
                 8                                                      /s/ Kristin A. McAbee
                                                                        Kristin A. McAbee
                 9
                                                                E filer: Terri H. Didion
             10                                                 Attorney for Tracy Hope Davis
                                                                United States Trustee
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